
718 S.E.2d 396 (2011)
STATE of North Carolina
v.
Timothy Darnell CHERRY.
No. 365P11.
Supreme Court of North Carolina.
November 9, 2011.
I. Faison Hicks, Special Deputy Attorney General, for State of N.C.
M. Alexander Charns, Esq., Durham, for Cherry, Timothy Darnell.
*397 Peter S. Gilchrist, III, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 23rd of August 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of November 2011."
